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                                             State of New Jersey
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   Lt. Governor                                                                                                     Director
                                                         PO Box 112
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                                                February 4, 2020

      Via CM/ECF
      Hon. Douglas E. Arpert, U.S.M.J.
      United States District Court, District of New Jersey
      Clarkson S. Fisher Building & U.S. Courthouse
      402 East State Street
      Trenton, New Jersey 08608

              Re:   Lakewood Board of Education v. New Jersey Legislature, et al.
                    Civil Action No. 3:19-cv-14690 (FLW/DEA)

      Dear Judge Arpert:

             Please accept this letter on behalf of Defendants New Jersey Department of
      Education and New Jersey Commissioner of Education Lamont O. Repollet
      (collectively “DOE Defendants”) seeking clarification of the deadline for the DOE
      Defendants to file a reply brief in further support of their motion to dismiss in the
      above-referenced matter.

             The DOE Defendants’ motion to dismiss was originally returnable February
      3, 2020. Based on that return date, Plaintiff’s opposition to the DOE Defendants’
      motion would have been due January 21, 2020, and the DOE Defendants’ reply brief
      would have been due January 27, 2020. Plaintiff, however, filed its opposition to
      the DOE Defendants’ motion on January 30, 2020. As the original January 27
      deadline for a reply is clearly no longer applicable, I ask that the deadline for the
      DOE Defendants to file a reply brief in further support of their motion to dismiss be
      set for February 20, 2020.

              Thank you for your attention to this matter.



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                                 Respectfully submitted,

                                 GURBIR S. GREWAL
                                 ATTORNEY GENERAL OF NEW JERSEY

                           By: /s/ Lauren A. Jensen
                                 Lauren A. Jensen
                                 Deputy Attorney General


C:    All Counsel of Record (via ECF)
